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                                   4                               UNITED STATES DISTRICT COURT

                                   5                             NORTHERN DISTRICT OF CALIFORNIA

                                   6                                        SAN JOSE DIVISION

                                   7
                                         IN RE INDUCTORS ANTITRUST
                                   8     LITIGATION                                      Case No. 5:18-cv-00198-EJD

                                   9                   .                                 ORDER DENYING MOTION FOR
                                                                                         RELIEF FROM NONDISPOSITIVE
                                  10                                                     PRETRIAL ORDER OF MAGISTRATE
                                                                                         JUDGE
                                  11
                                                                                         Re: Dkt. No. 324
                                  12
Northern District of California
 United States District Court




                                  13

                                  14          Plaintiffs’ Motion For Relief From Nondispositive Pretrial Order of Magistrate Judge is

                                  15   DENIED.

                                  16

                                  17          IT IS SO ORDERED.

                                  18   Dated: July 5, 2019

                                  19                                                 ______________________________________
                                                                                     EDWARD J. DAVILA
                                  20                                                 United States District Judge
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                                       Case No.: 5:18-cv-00198-EJD
                                  28   ORDER DENYING MOTION FOR RELIEF FROM NONDISPOSITIVE PRETRIAL ORDER
                                       OF MAGISTRATE JUDGE
                                                                         1
